Case 1:14-cv-09662-JSR Document 40-2 Filed 02/06/15 Page 1 of 5




           EXHIBIT B
Case 1:14-cv-09662-JSR Document 40-2 Filed 02/06/15 Page 2 of 5
Case 1:14-cv-09662-JSR Document 40-2 Filed 02/06/15 Page 3 of 5
          Case 1:14-cv-09662-JSR Document 40-2 Filed 02/06/15 Page 4 of 5



PETRÒLEO BRASILEIRO S.A. (PBR)                                       UNIVERSITIES SUPERANNUATION SCHEME LIMITED

                                       LIST OF PURCHASES AND SALES

                                   PURCHASE                   NUMBER OF                     PRICE PER
             DATE                   OR SALE                    SHS/UTS                        SH/UT


US71654V4086 (Common ADR)
                   03/03/2010                   PUR                         500,000                     $44.4740
                   03/29/2010                   PUR                         166,000                     $43.7743
                   05/10/2010                   PUR                         150,000                     $38.5297
                   06/25/2010                   SAL                          57,991                     $35.6216
                   09/24/2010                   PUR                         150,000                     $34.4900
                   11/11/2010                   SAL                         145,000                     $34.9799
                   01/24/2011                   PUR                          75,000                     $36.5285
                   03/22/2011                   PUR                          70,000                     $39.8735
                   04/01/2011                   PUR                          75,000                     $41.3866
                   04/05/2011                   PUR                             100                     $40.8000
                   04/05/2011                   SAL                             100                     $40.7700
                   05/09/2011                   SAL                         137,000                     $34.5826
                   06/02/2011                   SAL                          91,000                     $33.9126
                   07/26/2011                   PUR                          80,000                     $34.9231
                   08/29/2011                   PUR                         250,000                     $28.4266
                   09/14/2011                   SAL                         220,000                     $26.6472
                   09/29/2011                   PUR                         200,000                     $23.4503
                   10/19/2011                   PUR                          82,400                     $23.8741
                   10/28/2011                   PUR                         200,000                     $27.3844
                   11/08/2011                   PUR                         122,000                     $28.3256
                   12/12/2011                   SAL                          90,000                     $26.0345
                   12/14/2011                   SAL                         105,000                     $25.0988
                   01/10/2012                   PUR                         128,000                     $27.4752
                   02/01/2012                   PUR                         125,000                     $31.3203
                   02/13/2012                   SAL                         200,000                     $30.0911
                   06/07/2012                   PUR                         105,000                     $20.2081
                   07/05/2012                   PUR                         221,000                     $20.0367
                   10/01/2012                   PUR                         150,000                     $23.2288
                   10/16/2012                   PUR                          60,300                     $23.4090
                   01/09/2013                   SAL                         125,000                     $19.6650
                   02/05/2013                   SAL                         192,000                     $16.7498
                   02/08/2013                   SAL                         155,000                     $16.1505
                   02/11/2013                   SAL                         460,000                     $15.9027
                   03/07/2013                   PUR                         375,000                     $17.3074
                   03/07/2013                   PUR                         375,000                     $17.5800
                   04/29/2013                   PUR                         260,000                     $19.2460
                   11/26/2013                   SAL                         152,000                     $15.9966
                   11/27/2013                   SAL                         152,000                     $15.7956
                   02/19/2014                   SAL                         225,000                     $11.1542
                   03/19/2014                   PUR                         450,000                     $10.9096
                   03/25/2014                   PUR                         400,000                     $12.1694
                   06/04/2014                   SAL                         200,000                     $13.7527
                   07/22/2014                   PUR                         320,000                     $17.5285
                   08/13/2014                   SAL                         206,400                     $15.6016
                   10/29/2014                   SAL                         235,000                     $11.1244
                   11/13/2014                   SAL                         263,000                     $10.1635

US71654V1017 (Preferred ADR)
                      03/01/2010                PUR                         455,592                     $33.7000
                      03/29/2010                PUR                         278,000                     $38.5816
                      04/07/2010                PUR                         240,900                     $40.3327
                      04/13/2010                SAL                         290,000                     $38.9642
                      06/10/2010                PUR                         203,000                     $32.9687
                      06/11/2010                PUR                         206,000                     $32.7269
                      08/19/2010                SAL                         110,000                     $30.7123
                      09/24/2010                PUR                         300,000                     $30.5900
                      10/29/2010                PUR                          80,000                     $31.3878
                      01/06/2011                PUR                          44,900                     $32.8068
                      02/23/2011                PUR                         150,000                     $34.8974
                      03/03/2011                PUR                         115,000                     $35.5222
                      04/08/2011                PUR                         100,000                     $35.9919
                      05/19/2011                SAL                         200,000                     $29.9511
                      09/15/2011                SAL                          60,000                     $24.4427
                      09/29/2011                PUR                         220,000                     $21.4843




                                                Page 1 of 2
         Case 1:14-cv-09662-JSR Document 40-2 Filed 02/06/15 Page 5 of 5



PETRÒLEO BRASILEIRO S.A. (PBR)                                     UNIVERSITIES SUPERANNUATION SCHEME LIMITED

                                     LIST OF PURCHASES AND SALES

                                 PURCHASE                   NUMBER OF                     PRICE PER
            DATE                  OR SALE                    SHS/UTS                        SH/UT


                    10/12/2011                PUR                           70,000                    $22.8045
                    10/25/2011                PUR                           74,000                    $22.9519
                    10/26/2011                PUR                          200,000                    $23.2113
                    11/02/2011                PUR                          165,000                    $25.1055
                    01/04/2012                PUR                           74,000                    $24.8053
                    01/12/2012                PUR                          137,000                    $26.0400
                    02/14/2012                SAL                          220,000                    $26.8970
                    07/10/2012                SAL                          116,000                    $18.0968
                    09/25/2012                PUR                          300,000                    $22.5530
                    10/15/2012                PUR                          206,000                    $22.2990
                    01/30/2013                SAL                          262,000                    $18.3620
                    02/05/2013                SAL                           24,508                    $18.1536
                    02/05/2013                SAL                           90,000                    $17.9264
                    02/05/2013                SAL                           35,492                    $18.1536
                    03/13/2013                PUR                          265,000                    $19.2510
                    03/18/2013                PUR                          250,000                    $19.2600
                    06/20/2013                SAL                          142,000                    $15.0200
                    07/03/2013                SAL                          133,492                    $14.0151
                    07/03/2013                SAL                              508                    $14.0151
                    10/03/2013                SAL                        1,225,000                    $16.9700
                    10/04/2013                SAL                        1,225,392                    $16.6400

US71647NAF69
                    05/13/2013                PUR                         403,000                      $98.8280
                    05/21/2013                PUR                         120,000                     $100.0200
                    05/21/2013                PUR                         120,000                     $100.0200
                    05/21/2013                PUR                         160,000                     $100.0920
                    05/23/2013                SAL                         803,000                      $99.5000
                    02/07/2014                PUR                         210,000                      $89.2500

US71647NAK54
                    03/10/2014                PUR                           30,000                    $100.7950
                    03/10/2014                PUR                           70,000                     $99.1660
                    03/10/2014                PUR                        1,700,000                     $99.1660
                    03/12/2014                PUR                           25,000                    $100.2190
                    03/13/2014                SAL                          200,000                    $100.3460
                    03/18/2014                SAL                          200,000                    $100.8500
                    03/18/2014                SAL                          200,000                    $100.8500
                    03/18/2014                SAL                          200,000                    $100.9700
                    03/18/2014                SAL                          200,000                    $100.9700
                    03/19/2014                SAL                          300,000                    $101.5600
                    03/19/2014                SAL                          300,000                    $101.5600
                    03/21/2014                SAL                          100,000                    $101.0760
                    04/28/2014                SAL                            5,000                    $106.7680
                    04/29/2014                SAL                           10,000                    $106.4570
                    10/27/2014                SAL                           20,000                    $109.0960
                    10/30/2014                SAL                           10,000                    $110.4980
                    11/17/2014                SAL                           55,000                     $97.1510
US71645WAL54
                    04/03/2014                PUR                         190,000                     $108.0930




                                              Page 2 of 2
